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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                           TRAVELERS CASUALTY INSURANCE
                                   7       COMPANY OF AMERICA,                                Case No. 3:20-cv-06509-RS (KAW)

                                   8                     Plaintiff,                           ORDER TERMINATING MOTION TO
                                                                                              COMPEL
                                   9              v.
                                                                                              Re: Dkt. No. 46
                                  10       2541 CALIFORNIA STREET, LLC, et al.,
                                  11                     Defendants.

                                  12
Northern District of California
 United States District Court




                                  13           On June 25, 2021, the district court referred the pending motion to compel to the

                                  14   undersigned. The undersigned does not, however, entertain motions to compel, and instead

                                  15   requires parties to file joint discovery letters to address pending discovery disputes. (Judge

                                  16   Westmore’s General Standing Order ¶¶ 13-14, http://cand.uscourts.gov/kaworders.) Accordingly,

                                  17   the motion to compel is TERMINATED, and the parties are ordered to meet and confer1 in an

                                  18   attempt to resolve the pending dispute without court intervention. If those efforts fail to fully

                                  19   resolve all issues of contention, the parties shall jointly write and file a letter outlining any

                                  20   remaining disputes consistent with the Court’s Standing Order.

                                  21           The Court notes that Plaintiff appears to have attempted to meet and confer with

                                  22   Defendants prior to filing the motion to compel. Defendants are advised that the fact that they are

                                  23   not represented by counsel does not excuse them from their discovery obligations, including

                                  24   providing timely responses to any discovery propounded. Therefore, Defendants are ordered to

                                  25   meet and confer in an effort to resolve the pending disputes without court intervention. Since

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                                  27     The meet and confer process must comply with the undersigned’s standing order, which requires
                                       that the parties meet and confer by videoconference or in person. (See Judge Westmore’s General
                                  28   Standing Order ¶ 13.) Sending meet and confer letters or email communications are not sufficient.
                                       See id.
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                                   1   Defendants did not timely respond to the discovery propounded, all objections are waived. If

                                   2   Defendants refuse to participate in the meet and confer process, Plaintiff may file a unilateral

                                   3   discovery letter, but must detail what meet and confer efforts were undertaken prior to filing to

                                   4   ensure that the meet and confer efforts were in good faith. Defendants are cautioned that the

                                   5   failure to meaningfully participate in the meet and confer process, including the drafting of any

                                   6   subsequent joint letter, would likely result in the Court granting the relief requested.

                                   7          IT IS SO ORDERED.

                                   8   Dated: July 23, 2021

                                   9                                                     ______________________________________
                                                                                         KANDIS A. WESTMORE
                                  10                                                     United States Magistrate Judge
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Northern District of California
 United States District Court




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